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                                          UNITED STATES DISTRICT COURT
                                          SOUTHERN DISTRICT OF FLORIDA
                                         CASE NO.: 17-CR-20275 ROSENBERG

UNITED STATES OF AMERICA,

                         Plaintiff,

VS.

KEVIN FUSCO,

                    Defendant.
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              JUDGMENT & COMMITMENT UPON REVOCATION OF SUPERVISED RELEASE

        THIS CAUSE came before the Court at sentencing for violations of supervised release held on November 4,
2022. After statements by all parties and the Defendant’s admission to the violations in the petition, it is hereby
        ORDERED and ADJUDGED that the defendant’s term of supervised release imposed by the Court is
REVOKED. It is further ORDERED AND ADJUDGED that the Defendant Kevin Fusco is hereby committed to the
custody of the United States Bureau of Prisons to be imprisoned for a term of 24 months, to run concurrent to the
sentence imposed in case number 22-CR-80056, with no supervision to follow.
        DONE AND ORDERED in West Palm Beach, Florida, this 18th day of November, 2022.




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                                                          ROBIN L. ROSENBERG
                                                          UNITED STATES DISTRICT JUDGE
